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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

   OHANA MILITARY COMMUNITIES,                      CIVIL NO. 18-00042 KJM
   LLC and FOREST CITY RESIDENTIAL
   MANAGEMENT, LLC,                                 MEMORANDUM IN SUPPORT
                                                    OF MOTION
                       Plaintiffs,

         vs.

   CARA BARBER,

                       Defendant.


                   MEMORANDUM IN SUPPORT OF MOTION

  I.    INTRODUCTION

               This matter arises from Defendant Cara Barber’s social media

  campaign which – in coordination with her attorneys – spread false and misleading

  statements about the conditions at MCBH and the conduct of Ohana Military

  Communities, LLC (“Ohana”) and Forest City Residential Management, LLC

  (“Forest City”) (collectively, “Plaintiffs”) in an effort to drive new clients to the

  attorneys who had represented Ms. Barber in the putative class action. The

  Complaint contains claims for defamation, false light, and other torts, stemming

  from Ms. Barber’s social media campaign, and Ohana accordingly seeks

  communications that provide information relating to the false statements she made.
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               This Court has already made determinations regarding the discovery

  of certain categories of communications, such as Ms. Barber’s communications on

  social media, as well as her communications with Walter Chun. The category that

  remains for the Court to determine is the communications between Ms. Barber and

  the attorneys she promoted in her social media posts, Kyle Smith and Terrance

  Revere, which took place following the settlement agreement. As these

  communications pertain to Ms. Barber’s social media campaign and the

  recruitment of new residents to file new lawsuits against Plaintiffs, such

  communications are not privileged and are relevant and proportional to the

  litigation. Indeed, Judge Gillmor already reached this precise conclusion when she

  ordered Ms. Barber to produce all such communications by August 26, 2016. By

  this Motion, Plaintiffs only seek those additional communications that may have

  taken place after Ms. Barber’s previous production (or any documents that were

  somehow omitted from her previous production).

  II.   FACTUAL AND PROCEDURAL BACKGROUND

               The instant Complaint stems from a post-settlement dispute between

  Ms. Barber and Plaintiffs, related to a lawsuit brought four years ago, Barber, et al.

  v. Ohana Military Communities, LLC, et al., CV 14-00217 HG-RLP (“Barber I”).

  The history of that case, as it pertains to this Motion, is summarized briefly below.




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        A.     Barber I

               In April 2014, Ms. Barber and three other current and former residents

  of Marine Corps Base Hawai‘i (“MCBH”) filed a putative class action claiming

  that Ohana and Forest City failed to disclose the existence of unsafe levels of

  organo-chlorinated pesticides (“OCPs”) in the soils around the homes on MCBH.

  Complaint, ECF No. 1 (“Compl.”) ¶ 27; Counterclaim, ECF No. 19 (“Countercl.”)

  ¶ 8. The case was settled in February 2016, and the settlement agreement included

  a confidentiality provision, a non-disparagement provision, and a provision that

  prohibited Ms. Barber from participating in further lawsuits against Ohana and

  Forest City. Separate Concise Statement of Facts in Support of Plaintiffs’

  Summary Judgment Motion, ECF No. 73 (“CS”) ¶ 1.

               Plaintiffs have alleged that, almost immediately following the

  settlement agreement, Ms. Barber and her attorneys initiated a social media

  campaign, in which Ms. Barber made numerous defamatory and otherwise

  unlawful statements about Ohana and Forest City. Compl. ¶¶ 31-32. Plaintiffs

  thereafter filed a Motion for Preliminary Injunction (“PI Motion”). ECF No. 27-3;

  11/30/18 Order at 6. The PI Motion argued that Ms. Barber’s social media

  campaign should be enjoined because it violated three provisions of the settlement

  agreement. ECF No. 27-3 at 10-26.




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                During the proceedings for the PI Motion, Plaintiffs requested all

  communications between Ms. Barber and her attorneys related to the solicitation of

  new clients. See 8/12/2016 Trans. 13:11-23. Following Plaintiffs’ request, on

  August 12, 2016, Judge Gillmor ordered Ms. Barber to produce:

                All communications from January 5, 2016 to August 11, 2016
                that were made between Plaintiff Cara Barber and the law firms
                of Revere & Associates and Lynch, Hopper, Salzano & Smith
                regarding new lawsuits and new clients concerning disputes as
                to housing at Marine Corps Base Hawaii.

  Barber I, Minutes (ECF No. 330) (Aug. 12, 2016); see also 8/3/2016 Trans. 33:3–

  40:22.

           B.   Barber II

                Plaintiffs filed the instant Complaint against Ms. Barber on

  January 31, 2018 (Barber II), which is based upon the same social media campaign

  that formed the basis for the PI Motion in Barber I, but it seeks damages rather

  than injunctive relief and is based upon non-contractual claims. Barber II contains

  claims for defamation, false light, tortious interference with contract, tortious

  interference with prospective economic advantage, and violations of the Lanham

  Act. See generally, Compl.

                Ms. Barber filed an eleven-count Counterclaim, but only one claim,

  for breach of the settlement agreement, remains in the case. As to this claim

  (Count I), Ms. Barber alleges that, “[i]n 2017 and/or 2018, in response to a FOIA




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  request by a known news agency, Reuter’s News Service, the United States Navy

  sent documents describing the terms of the original settlement, including the

  settlement amount, thereby breaching” the settlement agreement. Countercl. ¶¶ 20,

  24 (ECF No. 19); see also 11/30/18 Order at 4-5, 10.

  III.   THE DISCOVERY AT ISSUE

              Ohana served its first document requests on November 9, 2018.

  Following Ms. Barber’s production, there was a dispute regarding three categories

  of documents. The first category seeks communications between Ms. Barber and

  third parties relating to the soil and pesticides at MCBH. As one example, Ohana

  seeks “All COMMUNICATIONS between YOU, on the one hand, and any

  PERSON, on the other, related to soil conditions at MCBH.” Ex. 1 at 1 (Req.

  No. 1). The second category seeks Ms. Barber’s communications with Walter

  Chun. In this category, Ohana requests “All DOCUMENTS, including but not

  limited to any COMMUNICATIONS, related to, with or mentioning Walter

  Chun.” Ex. 1 at 6-7 (Req. No. 18).

              This Motion concerns the third category of document requests, which

  seeks communications between Ms. Barber and her attorneys. In this category,

  Request Nos. 20-22 seek: “[f]or the time period for February 1, 2016 to the

  present, all COMMUNICATIONS between YOU, on the one hand, and Kyle

  Smith, Terrance Revere, or any other individuals at their respective law firms, on




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  the other hand, related to” – “lawsuits being filed against OHANA, FCRM, or

  HUNT COMPANIES” (No. 20); “YOUR WEB AND SOCIAL MEDIA SITES”

  (No. 21); and “current or former residents of MCBH residential housing (other

  than yourself or YOUR family) (No. 22). Ex. 1 at 7-8.

               At the meet-and-confer, Ms. Barber relied upon three general

  objections in response to the requests: (1) that the relevant time frame for

  discoverable communications and documents is between the Barber I settlement

  and the filing of the PI Motion; (2) that communications with Walter Chun are

  protected by Rule 26(b)(4) of the Federal Rules of Civil Procedure; and, (3) that

  communications with her attorneys are protected by the attorney-client privilege.

               On February 15, 2019, the parties filed letter briefs, requesting

  expedited discovery assistance pursuant to LR37.1. ECF Nos. 86, 87. The Court

  held a hearing on February 22, 2019 (ECF No. 91), and issued its order on

  February 25, 2019. Discovery Order (ECF No. 100).

               In its Discovery Order, the Court established the following parameters

  for Ms. Barber’s production of documents:

                  • Except as it pertains to communications with Walter
                    Chun, “the starting point for discovery of Barber’s
                    communications is February 13, 2016, the day after the
                    settlement agreement” and “the end date for discovery of
                    Barber’s communications is January 31, 2018, the date
                    Plaintiffs filed their Complaint.” Discovery Order at 5-6.




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                  • Ms. Barber must produce responsive social media
                    communications. Id. at 6.

                  • Communications between Ms. Barber and Mr. Chun
                    must be produced, regardless of time, id. at 7, and all
                    communications among Ms. Barber, her attorneys, and
                    Mr. Chun, must be produced, regardless of time (with the
                    exception that if Ms. Barber is not relying on responsive
                    communications in her defense, such communications
                    should be identified and supported with a privilege log).
                    Id. at 8. Communications between Ms. Barber’s
                    attorneys and Mr. Chun need not be produced except as
                    provided in Fed. R. Civ. P. 26(b)(4)(C). Id. at 9.

               With respect to the various communications between Ms. Barber and

  her counsel, the Court directed “the parties to meet and confer, and if necessary,

  Plaintiffs are granted leave to file a formal discovery motion on the issue.” Id. at 9.

  Accordingly, the parties held a meet and confer on March 13, 2019. Declaration of

  Randall Whattoff (“Whattoff Decl.”) ¶ 2.

  IV.   LEGAL STANDARD

               Rule 26 of the Federal Rules of Civil Procedure1 allows for discovery

  of any matter that is “relevant to any party’s claim or defense and proportional to

  the needs of the case . . . .” A party may move for an order compelling discovery

  after a good faith attempt to confer with the party failing to respond. Beavers-




  1
   References to the “Rule” or “Rules” refer to the Federal Rules of Civil Procedure
  unless otherwise noted.



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  Gabriel v. Medtronic, Inc., Civ. No. 13-00686 JMS-RLP, 2015 WL 12746717, at

  *1 (D. Haw. Mar. 24, 2015).

  V.    ARGUMENT

        A.     The Requested Communications Between Ms. Barber and Her
               Attorneys Are Not Protected Under the Work Product Doctrine
               or Attorney-Client Privilege

               Communications between Ms. Barber, on one hand, and Mr. Smith

  and Mr. Revere, on the other hand, about recruiting new plaintiffs or their new

  social media campaign are not protected under the work product doctrine or

  attorney-client privilege.

               First, the work product doctrine protects “written statements, private

  memoranda and personal recollections prepared or formed by an adverse party’s

  counsel in the course of his legal duties.” Reading Int’l, Inc. v. Malulani Grp.,

  Ltd., Civ. No. CV 13-00133 JMS-KSC, 2014 WL 12597414, at *2 (D. Haw.

  Mar. 31, 2014) (quoting Hickman v. Taylor, 329 U.S. 495, 510 (1947)).

               Second, it is axiomatic that “[t]o be protected by the [attorney-client]

  privilege, ‘confidential communications [must be] made for the purpose of

  facilitating the rendition of professional legal services.’” Gramercy Grp., Inc. v.

  D.A. Builders, LLC, Civ. No. 16-00114 JMS-KSC, 2017 WL 5179530, at *2

  (D. Haw. Nov. 8, 2017). Further, “because the attorney-client privilege has the

  effect of withholding relevant information from the factfinder, it is applied only




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  when necessary to achieve its limited purpose of encouraging full and frank

  disclosure by the client to his or her attorney.” Potter v. United States, Civ.

  No. 02-CV-0632-H (POR), 2002 WL 31409613, at *5 (S.D. Cal. July 26, 2002)

  (emphasis added) (citing Fisher v. United States, 425 U.S. 391, 403 (1976) (other

  citation omitted)). Here, Ohana seeks communications that clearly were not made

  for the purpose of obtaining legal advice. That is, the communications between

  Ms. Barber and her attorneys during the social media campaign did not involve the

  rendition of professional legal services; instead, the communications were a

  coordinated effort to solicit new clients to the Smith and Revere law firms and

  fulfill Cara Barber’s vendetta against Ohana and Forest City. These

  communications are clearly not privileged. See, e.g., United States v. Singhal, 800

  F. Supp. 2d 1, 9 (D.D.C. 2011) (noting that communications are “not privileged

  where attorney acted as a policy advisor, media expert, business consultant,

  banker, referee, or friend.” (citing In re Lindsey, 148 F.3d 1100, 1106 (D.C. Cir.

  1998)); Equity Residential v. Kendall Risk Mgmt., Inc., 246 F.R.D. 557, 568 (N.D.

  Ill. 2007) (“The attorney-client privilege only extends to those communications

  involving legal advice, not business advice or other technical information.”).

               Indeed, recognizing that the requested communications are not

  protected or privileged, Judge Gillmor in Barber I ordered Ms. Barber to produce

  “[a]ll communications from January 5, 2016 to August 11, 2016 that were made




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between Plaintiff Cara Barber and the law firms of Revere & Associates and

Lynch, Hopper, Salzano & Smith regarding new lawsuits and new clients

concerning disputes as to housing at Marine Corps Base Hawaii.” Barber I,

Minutes (ECF No. 330) (Aug. 12, 2016); see also 8/3/2016 Trans. 33:3-40:22.

             To the extent that Ms. Barber maintains that such communications are

privileged, appropriate objections must be made. Instead, in response to every

request at issue, Ms. Barber used the same boilerplate objection, as follows:

             Defendant Barber objects to this request on the grounds
             that it calls for the disclosure of attorney-client work
             product and communications protected by the attorney-
             client privilege.

Ex. 1 at 7-8. Such boilerplate objections are simply not acceptable. See, e.g.,

Marine Lumber Co. v. Precision Moving & Storage, Inc., Civ. No. 16-00365 LEK-

RLP, 2017 WL 3568668, at *3 (D. Haw. Aug. 16, 2017), aff’d, Civ. No. 16-00365

LEK-RLP, 2017 WL 4678470 (D. Haw. Oct. 17, 2017) (holding that the

defendant’s use of “a boilerplate objection or a statement that it has no responsive

documents” in response to each document request is “deficient”); Waikiki v.

USPLabs, LLC, Civ. No. 13-00639 LEK-KSC, 2015 WL 13652910, at *2

(D. Haw. June 25, 2015) (“Defendant simply cannot rely on boilerplate

objections.”).

             Ohana seeks non-privileged communications between Ms. Barber and

her attorneys that were made in coordination with Ms. Barber’s social media



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campaign following the settlement agreement. As discussed below, such

communications are highly relevant to all the claims in the instant Complaint and

should therefore be produced.

      B.     The Requested Communications Between Ms. Barber and Her
             Attorneys Are Relevant and Proportional

             Ms. Barber’s post-settlement communications with Mr. Smith and

Mr. Revere are relevant to all of Plaintiffs’ claims, which arise from Ms. Barber’s

social media campaign. See Rule 26(b)(1) (“[p]arties may obtain discovery

regarding any nonprivileged matter that is relevant to any party’s claim or defense .

. . “); Kim v. Crocs, Inc., Civ. No. CV 16-00460 JMS KJM, 2017 WL 10379587, at

*2 (D. Haw. Nov. 28, 2017) (“A matter is relevant if it ‘reasonably could lead to

other matter that could bear on, any issue that may be the case.’” (citation

omitted)). Here, the relevancy of the requested communications is made clear by

examples of e-mails that were produced in response to Judge Gillmor’s order in

Barber I. These e-mails show that Ms. Barber and her attorneys had a carefully

coordinated campaign, in which Ms. Barber spread false information related to

MCBH housing in an attempt to drive new clients to Mr. Smith and Mr. Revere. A

few examples are shown below.

                • On April 1, 2016, Ms. Barber e-mailed Mr. Smith and
                  Mr. Revere asking for feedback in the video she was
                  producing. She informed them that “[i]n the video, I
                  provide your names and contact information as attorneys




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                    that families can contact if interested in pursuing their
                    potential claims.” Ex. 2.

                 • On May 10, 2016, Ms. Barber e-mailed Mr. Smith that
                   she liked the solicitation letter. See Ex. 3. She
                   forwarded a series of talking points she apparently
                   intended to use in her discussions with prospective
                   clients. The talking points included: “Hazardous
                   contamination is confirmed throughout MCBH and Pearl
                   Harbor neighborhoods”; “Their failure to inform you
                   about the hazardous contamination and serious health
                   risks means you have strong legal claims you can pursue
                   against them”; “A current or former MCBH or Pearl
                   Harbor resident who pursues these legal claims can seek
                   the following: 100% Reimbursement of BAH/Rents
                   Paid”; and “Other current and former MCBH residents
                   have pursued these strong legal claims against Forest
                   City. Their lawsuit settled for an undisclosed amount.”
                   Id. (emphases added).

                 • On May 13, 2016, Mr. Smith told Ms. Barber that the
                   solicitation letter was working: “We have had dozens
                   and dozens of emails/calls and probably 40-50 who have
                   already signed up. I also gave [Forest City] the delicious
                   news yesterday that new mediation demands/claims were
                   on their way.” Ex. 4.

These examples show the intent and planning behind Ms. Barber’s social media

campaign, and demonstrate that communications between Ms. Barber and her

attorneys are directly relevant to all of Plaintiffs’ claims for defamation, false light,

tortious interference with contract, tortious interference with prospective economic

advantage, and false advertising under the Lanham Act. The requested

communications are particularly relevant to Plaintiffs’ claims for tortious

interference with contract and tortious interference with prospective economic



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advantage, as the coordinated campaign aimed to instill fear and distrust in MCBH

housing and resulted in damages. Moreover, Plaintiffs’ claim for defamation

requires Plaintiffs to prove “fault amounting at least to negligence on the part of

the publisher.” Nakamoto v. Kawauchi, 142 Haw. 259, 270, 418 P.3d 600, 611

(2018). Because fault is an element of defamation, it is axiomatic that Plaintiffs

are required to rely upon communications during the social media campaign to

demonstrate Ms. Barber’s state of mind, intent, and body of knowledge at the time

she made the statements.

             Regarding proportionality, “[t]he parties and the court have a

collective responsibility to consider the proportionality of all discovery and

consider it in resolving discovery disputes.” Gramercy Grp., Inc., 2017

WL 5179530, at *2 (quoting Rule 26(b)(1) advisory committee’s note to 2015

amendment). In Gramercy Grp., Inc., the defendants sought to compel testimony

from three individuals, including the plaintiff’s President/CEO, following

instructions by the plaintiff’s counsel to not respond during the individuals’

depositions. Id. at *1. The plaintiff argued that the requested testimony was

protected by Rule 408 of the Federal Rules of Evidence and the attorney-client

privilege. Id. The Court concluded that because the plaintiff brought the

President/CEO’s statements into the litigation and the plaintiff would not be




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unduly burdened by further questioning, the requested discovery was relevant and

proportional to the needs of the case. Id. at *2.

             With respect to the attorney-client privilege, the Court in Gramercy

Grp., Inc. noted that “[i]t is well-established that attorney-client communications

must involve legal advice or services.” Id. at *3. The Court held that the attorney-

client privilege did not bar the defendants from eliciting some of the requested

testimony, “merely because [the deponents] might have learned or obtained factual

information or knowledge from counsel.” Id. “It cannot use information in a[n]

effort to prevail against Defendants, then assert attorney-client privilege to prevent

discovery about that very information.” Id.

             Similarly, here, the communications between Ms. Barber and her

attorneys are not privileged, and are relevant and proportional to the needs of the

case, as they (1) shed light on the formation of Ms. Barber’s false statements; and

(2) are readily available for production without undue burden or expense. See,

e.g., Kim, 2017 WL 10379587, at *7 (addressing proportionality factors and

holding that the defendants shall produce responsive documents, as the documents

are relevant and could be produced without undue burden or expense).

             As discussed above, some communications were produced during the

PI Motion under Judge Gillmor’s order, but that production was limited to the time

period of January 5, 2016 to August 11, 2016. As the Court has held that the




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relevant time period for discoverable documents is February 13, 2016 through

January 31, 2018, (Discovery Order at 5-6), Ms. Barber should be ordered to

produce any additional, responsive documents in this timeframe that were not

previously produced.

VI.   CONCLUSION

             For the foregoing reasons, Plaintiffs respectfully request the Court to

grant Plaintiffs’ Motion and order: (1) that Ms. Barber produce documents

responsive to Request Nos. 20-22; and (2) that Ms. Barber pay reasonable

expenses, including attorneys’ fees, incurred in bringing this Motion.



             DATED: Honolulu, Hawai‘i, March 14, 2019.


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